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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                              )
    In re:                                                    )   Chapter 11
                                                              )
    FTX TRADING LTD., et al.,1                                )   Case No. 22-11068 (JTD)
                                                              )
                            Debtors.                          )   (Jointly Administered)
                                                              )
                                                              )   Re: Docket No. 1480
                                                              )


DECLARATION OF BRETT BAKEMEYER IN SUPPORT OF THE OMNIBUS REPLY
OF THE JOINT PROVISIONAL LIQUIDATORS OF FTX DIGITAL MARKETS LTD.
  TO OBJECTIONS TO THE MOTION FOR A DETERMINATION THAT THE U.S.
DEBTORS’ AUTOMATIC STAY DOES NOT APPLY TO OR IN THE ALTERNATIVE
FOR RELIEF FROM STAY FOR FILING OF THE APPLICATION IN THE SUPREME
COURT OF THE COMMONWEALTH OF THE BAHAMAS SEEKING RESOLUTION
                 OF NON-US LAW AND OTHER ISSUES

         1.        I, Brett Bakemeyer, pursuant to 28 U.S.C. § 1746, declare as follows:

         2.        I am an attorney with the law firm of White & Case LLP, counsel to FTX Digital

Markets, Ltd. (“FTX Digital”), and Brian C. Simms KC, Kevin G. Cambridge, and Peter Greaves

in their capacity as the duly appointed joint provisional liquidators of FTX Digital and foreign

representatives of the Provisional Liquidation of FTX Digital (the “Joint Provisional

Liquidators”). I am admitted to practice pro hac vice before the Court in this action. [D.I. 124].

         3.        I submit this declaration in support of Omnibus Reply of the Joint Provisional

Liquidators of FTX Digital Markets Ltd. to Objections to the Motion for a Determination that the

U.S. Debtors’ Automatic Stay Does Not Apply to, or in the Alternative for Relief from Stay for


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  The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number
of debtor entities in these Chapter 11 Cases, a complete list of the debtors (the “U.S. Debtors”) and the last
four digits of their federal tax identification numbers is not provided here. A complete list of such
information may be obtained on the website of the U.S. Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX.




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Filing of the Application in The Supreme Court of The Commonwealth of The Bahamas Seeking

Resolution of Non-U.S. Law and Other Issues (the “Reply”).2 This Declaration is based on my

personal knowledge and upon my review of the records of this and related matters.

       4.      Attached hereto as Exhibit A is a true and correct copy of the U.S. Debtors’

Responses and Objections to Joint Provisional Liquidators’ Requests for Production of

Documents, dated May 10, 2023.

       5.      Attached hereto as Exhibit B is a true and correct copy of the following legal

authority cited in the Reply: Habibsons Bank Ltd. v. Standard Chartered Bank (Hong Kong) Ltd.

[2011] QB 943.

       6.      Attached hereto as Exhibit C is a true and correct copy of a Letter of Credit

agreement between FTX Digital Markets and Customer 1, dated October 20, 2022.

       7.      Attached hereto as Exhibit D is a true and correct copy of a Letter of Credit

agreement between FTX Digital Markets and Customer 2, dated October 20, 2022.

       8.      Attached hereto as Exhibit E is a true and correct copy of a Letter of Credit

agreement between FTX Digital Markets and Customer 3, dated October 20, 2022.

       9.      Attached hereto as Exhibit F is a true and correct copy of a Letter of Credit

agreement between FTX Digital Markets and Customer 4, dated October 19, 2022.

       10.     Attached hereto as Exhibit G is a true and correct copy of a Letter of Credit

agreement between FTX Digital Markets and Customer 5, dated October 19, 2022.

       11.     Attached hereto as Exhibit H is a true and correct copy of a Letter of Credit

agreement between FTX Digital Markets and Customer 6, dated October 21, 2022.



2
  Capitalized terms not defined herein shall have the meaning ascribed to them in the Reply, filed
simultaneously herewith.

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      12.    Attached hereto as Exhibit I is a true and correct copy of a Letter of Credit

agreement between FTX Digital Markets and Customer 7, dated October 20, 2022.

      13.    Attached hereto as Exhibit J is a true and correct copy of a Letter of Credit

agreement between FTX Digital Markets and Customer 8, dated October 21, 2022.

      14.    Attached hereto as Exhibit K is a true and correct copy of a Letter of Credit

agreement between FTX Digital Markets and Customer 9, dated October 19, 2022.

      15.    Attached hereto as Exhibit L is a true and correct copy of a Letter of Credit

agreement between FTX Digital Markets and Customer 10, dated October 20, 2022.

      16.    Attached hereto as Exhibit M is a true and correct copy of a Letter of Credit

agreement between FTX Digital Markets and Customer 11, dated October 19, 2022.



Executed on May 12, 2023 in New York, New York.



                                                       /s/ Brett Bakemeyer
                                                       Brett L. Bakemeyer
                                                       Associate
                                                       White & Case LLP




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